                   Case: 1:23-cv-00875-JPC Doc #: 8 Filed: 05/15/23 1 of 1. PageID #: 55
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               NorthernDistrict
                                             __________ Districtofof Ohio
                                                                   __________
                                                     Eastern Division

Carla Gless, Individually and for Others                       )
Similarly Situated Plaintiff                                   )
                                v.                             )      Case No.     1:23-cv-00875-JPC
University Hospitals Health System, Inc.                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant University Hospitals Health System, Inc.                                                           .


Date:    5/15/2023
                                                                                          Attorney’s signature


                                                                         Ariana E. Bernard (0100001)
                                                                                     Printed name and bar number



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